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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   SAMUEL WONG
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2772
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 7
 8                  IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )       CASE NO. 2:11-CR-076 LKK
                                       )
12             Plaintiff,              )       STIPULATION AND ORDER
                                       )       CONTINUING STATUS CONFERENCE
13        v.                           )       DATE AND EXCLUDING TIME UNDER
                                       )       THE SPEEDY TRIAL ACT
14   ARMANDO VASQUEZ-BARRAGAN,         )
                                       )       Court:   Hon. Lawrence Karlton
15             Defendant.              )
                                       )
16                                     )
                                       )
17
18        It is hereby stipulated and agreed by and between plaintiff

19   United States of America, on the one hand, and defendant Armando

20   Vasquez-Barragan, on the other hand, through their respective

21   attorneys, that:

22        (1) the presently set May 21, 2013, status conference shall

23        be continued to July 2, 2013, at 9:15 a.m.; and (2) time

24        from the date of the parties' stipulation, May 17, 2013,

25        through, and including, July 2, 2013, shall be excluded from

26        computation of time within which the trial of this matter

27        must be commenced under the Speedy Trial Act, pursuant to 18

28        U.S.C. § 3161(h)(7)(A) and (B) (iv) and Local Codes T4

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 1        (reasonable time for defense counsel to prepare and
 2        continuity of defense counsel).
 3        The parties stipulate and agree that the United States has
 4   produced discovery to defense counsel and defense counsel needs
 5   additional time to review the discovery, investigate the facts,
 6   conduct legal research regarding possible defenses, and confer
 7   with his client regarding these matters.       The parties have
 8   discussed settlement of the case, however, more time is needed to
 9   reduce their settlement discussions into a formal written plea
10   agreement and then explain the ramifications of the proposed plea
11   agreement to defendant.    The task of conferring with the client
12   is made more difficult due to the need to use a Spanish/English
13   language interpreter to conduct communications between defense
14   counsel and client, and the client is housed in custody outside
15   of Sacramento.   The parties also request additional time because
16   the settlement of defendant’s case is made more difficult because
17   he is a defendant in two separate criminal prosecutions before
18   the Court and the parties are attempting to work out a global
19   resolution of both cases.     Finally, defense counsel is
20   unavailable to work on the instant cases for defendant for much
21   of the time between now and July 2, 2013, due to defense
22   counsel’s work commitments on two other trials in other courts.
23        Based on these facts, the parties stipulate and agree that
24   the Court shall find:    (1) the trial delay and exclusion of time
25   requested herein is necessary to provide defense counsel
26   reasonable time to prepare defendant’s defense, taking into
27   account due diligence; (2) the continuance is needed to ensure
28   continuity of defense counsel; and (3) the ends of justice to be

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 1   served by granting the requested continuance outweigh the best
 2   interests of the public and defendant in a speedy trial.
 3   Dated:    May 17, 2013                     /s/ Danny Brace
                                                ___________________________
 4                                              DANNY BRACE
                                                Attorney for Defendant
 5                                              Armando Vasquez-Barragan
                                                (per telephone authorization)
 6
 7   Dated:    May 17, 2013                     BENJAMIN B. WAGNER
                                                UNITED STATES ATTORNEY
 8
                                                       /s/ Samuel Wong
 9                                               By:   _______________________
                                                       SAMUEL WONG
10                                                     Assistant U.S. Attorney
11
12                                       ORDER
13        The Court, having received, read, and considered the
14   stipulation of the parties, and good cause appearing therefrom,
15   adopts the stipulation of the parties in its entirety as its
16   order.    Based on the stipulation of the parties and the
17   recitation of facts contained therein, the Court finds that the
18   failure to grant a continuance in this case would deny defense
19   counsel reasonable time necessary for effective preparation,
20   taking into account the exercise of due diligence and deny
21   defendant continuity of counsel.          The Court finds that the ends
22   of justice to be served by granting the requested continuance
23   outweigh the best interests of the public and the defendant in a
24   speedy trial.
25        The Court orders that the time from the date of the parties'
26   stipulation, May 17, 2013, to and including the new July 2, 2013,
27   status conference hearing date shall be excluded from computation
28   of time within which the trial of this case must be commenced

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 1   under the Speedy Trial Act, pursuant to 18 U.S.C.
 2   § 3161(h)(7)(A) and (B) (iv), and Local Code T4 (reasonable time
 3   for defense counsel to prepare and continuity of defense
 4   counsel).   It is further ordered that the presently set May 21,
 5   2013, status conference shall be continued to July 2, 2013, at
 6   9:15 a.m.
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 8   Dated: May 20, 2013
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